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                                                           HONORABLE RICHARD A. JONES
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                              UNITED STATES DISTRICT COURT
4                            WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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     DIGITAL MENTOR, INC.,
6
                    Plaintiff,
7                                                        Case No. C17-1935-RAJ
            v.
8                                                        ORDER
     OVIVO USA, LLC; OVIVO US
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     HOLDING INC.; VALERE
10   MORISSETTE; and DOES 1 to 20,
11                  Defendants.
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            This matter comes before the Court on Plaintiff’s Petition to Refer the Case to
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     Early Mediation. Dkt. # 96. Defendants oppose Plaintiff’s Petition. Dkt. # 97. Local
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     Rule 39.1 states that the Court may order the parties to engage in mediation to maximize
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     the prospects of early settlement and to assist the parties in resolving their disputes in a
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     “just, timely and cost-effective manner.” Plaintiff argues that its economic position
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     requires early mediation to facilitate early resolution of this matter. While the Court
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     understands Plaintiff’s concern regarding its limited financial resources, it would be
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     premature to order this matter into mediation at this time. There are several pending
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     motions to dismiss and the issues needing mediation are not yet determined at this time.
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     Plaintiff’s Petition is DENIED. Dkt. # 96.
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            DATED this 29th day of November, 2018.
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26
                                                        A
                                                        The Honorable Richard A. Jones
27                                                      United States District Judge
28   ORDER – 1
